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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                 PORTLAND DIVISION
NORTHWEST CENTER FOR                                             No. 3:20-cv-01816
ALTERNATIVES TO PESTICIDES,
WILLAMETTE RIVERKEEPER,                         STANDING DECLARATION OF
CASCADIA WILDLANDS, NEIGHBORS                            JUNIPER SIMONIS,
FOR CLEAN AIR, AND 350PDX,                      WILLAMETTE RIVERKEEPER
                                  Plaintiffs,                    MEMBER
       vs.
U.S. DEPARTMENT OF HOMELAND
SECURITY; CHAD WOLF, in his capacity
as Acting Secretary, U.S. Department of
Homeland Security,
                                 Defendants.

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I, JUNIPER SIMONIS, declare as follows:
        1.      My name is Juniper Simonis. I am over 18 years of age and reside in Southeast
Portland, Oregon. I make this declaration based on my own personal knowledge, and if called as
a witness, I could and would competently testify to the facts herein under oath. As to matters
which may reflect a matter of opinion, they reflect my personal opinion and judgment based on
my personal experience.
        2.      I make this declaration in support of Willamette Riverkeeper’s participation in the
NEPA lawsuit filed with this Court. I have been a member of Willamette Riverkeeper since
2020.
        3.      I grew up in Mundelein, Illinois. My parents heavily emphasized outdoor
education to me, and ecology and science have been an essential part of my life and education
since I was a child. My upbringing played an important role in my college and graduate
education and career path.
        4.      I trained as an aquatic ecologist at Cornell University and obtained my PhD in
2013 in Ecology and Evolutionary Biology.
        5.      I am a principal of the company that I founded, DAPPER Stats, since 2015. My
company develops software for population biology related assessments for various universities,
government agencies, and private entities.
        6.      The Willamette River is a near-constant part of my daily life in Portland, and
water quality and the functions of its systems and wildlife are vitally important to me.
        7.      I appreciate the interconnectedness of the land and the river, terrestrial and
aquatic species, particularly in the stressors of an urban environment like Portland. I often think
about and look for raptors, racoons, opossum and other critters that eat fish from the Willamette
River. The Willamette River is a fundamental and essential component to the air, terrestrial, and
aquatic life that is part of the cross-ecosystem functions and I enjoy spending time looking and
watching these interactions right at the doorstep of the City.
        8.      I am also a member of the Rowan Institute in Seattle, 500 Women Scientists, and
have participated in U.S. Fish and Wildlife Service Species Recovery Committee Work

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Groups, and the Association of Zoo Aquariums. My primary area of interest with these groups is
education and advocacy of the intersection of data science and ecology, typically for riverine and
stream aquatic species like salmonids.
       9.        Much of my outside of work activities involve roller derby coaching, training, and
competitions through The Hangar at Oaks Amusement Park. As part of my pre- and postderby
activities, my dog and I walk, run laps, and play in the Sellwood Riverfront Park, Sellwood Park,
and Oaks Bottom Wildlife Refuge area.
       10.       My dog and I also frequently swim, walk, and play in and around the Willamette
River at Sellwood Riverfront Park.
       11.       Starting in mid-2020, I attended some daytime marches in the downtown Portland
area for about a week. I quickly realized that police forces were becoming aggressive, and
stopped attending marches. To continue to support the Black Lives Matter movement, I
participated in daytime marches on the East Side of the Willamette River in solidarity with the
Portland marches. At night, I would do supply runs, bringing food and water for East Side
protesters.
       12.       By early July 2020, after protests were over, I began cleaning up the streets after
protests all over the city including downtown, which neither the federal agents or city would do.
I would walk around protest areas and towards the river, looking for ways to cleanup the
munitions the agency just leaves on the streets, sidewalks, curbs, next to and in stormwater grates
and drains, and in bioswales. I do this because I am concerned about the impacts these munitions
and their residues might have on human health and the environment, and the life cycle of the
pollution. I do not want any of the leftover chemicals or munitions from the protests getting into
the Willamette River. During this time, I began documenting what I recovered for scientific
purposes and to inform the public, and accordingly wore a press / scientist pass indicating my
credentials and contacts.
       13.       My personal cleanup efforts have taken place during the dry summer, but also
continue as the protests enter the rainy season. Out of concern for the transport of chemicals and
munitions from the protests to the Willamette River, I have called the City of Portland

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Bureau of Environmental Services’ emergency line at least four separate times. Notably, I
have contacted them before and during rain events to warn them of spent munitions I
have found, the locations, and that rain likely will, and does, wash them into the City’s
stormwater system and into the Willamette River. I have not received any responses. I
have provided written testimony to the Oregon House Committee on Energy and the
Environment and oral testimony to the Oregon Legislature’s Joint Committee on Transparent
Policing and Use of Force Reform. In seeking information regarding munitions being used by
federal agents, I spoke in person with Department of Homeland Security agents and called the
Department of Homeland Security’s general Federal Protective Service Toll Free number, but
was never provided any information.
        14.        I have followed the trail of protest detritus from the Courthouse and the ICE
building into the streets, curbs, sidewalks, bioswales, and I have seen munitions in the City’s
storm drains. See, e.g., Attachments 1 and 2 (photographs taken by me on October 18, 2020
across the street from the ICE Building, showing pepper ball impacts on the street and pepper
balls in the storm drain). I have also found munitions in the Willamette River. See, e.g.
Attachment 3 (photograph taken by me on September 1, 2020 at the Hawthorne
Bridge outfall; Attachment 4 (photograph of me taken on October 16, 2020 at the Lowell
Street outfall).
        15.        From the quantity of protest detritus I am seeing, I do not think that any city,
state, or federal agency has investigated or cleaned up these areas. If the government would
cleanup the chemicals and protest munitions, or at a minimum disclose what is being used and
the harmful effects the chemicals and munitions can have on humans and the environment, then I
would not need to physically go out myself, a private citizen, to cleanup after them to protect the
river and ecosystems that I care about.
        16.        Among other chemical munitions from the protests, I have found gas cannisters
on streets and sidewalks, and in landscaping and yards. These canisters start fires on wet grass
and underneath vehicles. After five years from manufacture, these cannisters expire due to



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explosion hazards, and some of these gas cannisters recovered this summer had manufacturer
dates back to 2007. During my cleanup efforts, I have found rubber balls, rubber pellets, powder
balls, empty shotgun shells, tear gas pellets (metal containers from shell rounds), impact
munitions, marking munitions, and rubber grenades. I have seen black, green, white and marine
orange / red floating smoke residue hovering over the streets. I have also found caked residues
on streets, in curbs, and on landscaping from smoke and gas bombs that I documented pre-rain
and which, during and after rains, were partially washed into the stormwater. The residues still
remain on the streets. It has been about 2 months now and these residues are still on the streets.
As we are entering the rainy season, I am very concerned that the residues, and other munitions,
are continuing to wash into the stormwater system and into the Willamette River.
        17.      I have followed the trails of munitions from the Courthouse and the ICE
Detention Center to two stormwater system outfalls that discharge directly to the Willamette
River, one near the Hawthorne Bridge and one at the Lowell Street extension. I have examined
these outfalls to the extent I am able, and I have seen a variety of chemical munitions at the
outfalls, both in debris backed up in the outfalls, and at the lip of the outfalls. I have noticed the
presence of chemical munitions in the storm system and at these outfalls both before and after
the City claims to have “cleaned” the stormwater system points it was able to access (I believe
the federal agency has denied the City access to at least one stormwater drain at the Courthouse).
18. I have visited these outfalls during high tide and low tide. I have seen stormwater flowing
from the Hawthorne Bridge outfall flowing into the Willamette River, even before the
rainy season began. On Saturday October 10th, I would characterize the water as “roaring”
out of the Hawthorne Bridge outfall.
        19.      The outfall locations where I have found spent chemical munitions are adjacent to
or within specifically designed nearshore habitat for aquatic species like salmonids. I have
concerns for the water quality in these areas, as heavy metals and other compounds carried by
the water and spent munitions may bioaccumulate in fish and end up in marine mammals. I am
incredibly concerned about aquatic organisms consuming or handling intact munitions (powder
balls, chemical pellets) that contain concentrated doses of the chemicals. I am further concerned

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that animals may choke on non-degradable plastics and metals from the protests, for example the
small rubber pellet bullets are the same size as salmon eggs and fish or crayfish may confuse the
bullets for food.
         20.      The chemical munitions I am finding on the streets and in the stormwater system
are from the agencies’ use of these weapons at protests due to the locations, the quantity, the
similarity of munitions with what is being used at protest sites. I am also finding other protest
detritus with the chemical munitions, like water bottle caps and latex / nitrile gloves.
         21.      I have read the safety data sheets for all of the known chemical munitions being
used by federal agents. Many of the munitions contain chemicals that are “very toxic to aquatic
organisms”, including some with “long lasting effects”; should not “reach groundwater”
and, generally, “transfer to the environment” must be avoided; are listed as explosive, toxic, and
corrosive hazardous wastes; and many are in expired cartridges that breakdown during storage
and cause improper release of the chemical. I am gravely concerned about the impacts of these
chemicals, the meltdown of expired cartridges creating entirely new chemical combinations, the
dispersal and breakdown of these chemicals over time, and the release of these chemicals into the
environment with no understanding of their components, quantities, or environmental breakdown
rates.
         22.      Due to a lack of response from public agencies and my concerns for human health
and the environment, and my scientific training, I am also working on multiple research
papers. I have submitted a draft of the first paper to the Proceedings of the National Academy of
Sciences which is under their review.
         23.      I have plans to continue my collection and cleanup efforts, to contact public
agencies as I find chemical munitions, and to work on my own research regarding human health
and environmental concerns from the chemical munitions being used by the agency.
         24.      Willamette Riverkeeper’s mission to protect and restore the Willamette River is
important to my own personal and professional values. Because Willamette Riverkeeper has
worked on protecting and cleaning up the river from toxic chemicals, and restoring the river
habitat throughout the river, I submit this declaration to support the organization’s efforts in this

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NEPA lawsuit. I appreciate the organization’s interest in water quality issues, and raising
awareness for species affected by toxic pollutants, like freshwater mussels, salmonids, and the
bioaccumulation risks for birds, marine mammals, and other species that feed from the river.
Without the efforts of Willamette Riverkeeper bringing this lawsuit, regular citizen requests for
information and action – like mine – are going unheeded. Willamette Riverkeeper give me a
voice on issues that I care deeply about but that otherwise are being ignored.
       25.      The agency has not conducted an environmental analysis as NEPA requires.
       26.      Should Willamette Riverkeeper be unable to bring suit to enforce the agency’s
compliance with NEPA, Willamette Riverkeeper will be unable to effectively address water
pollution, harm to aquatic life, and potential impacts to the public, including me, who use the
river for recreation. Without information and analysis by the agency, significant risks to human
health and the environment remain unknown to the public.
       27.      If the agency had followed NEPA, my interests would be protected. If the agency
were to conduct a NEPA analysis, it would identify information allowing me to educate myself
and others about the use of chemicals during the Portland protests and the impacts of these
chemicals on human health, water quality, aquatic species, and the river ecosystem. The
agency’s NEPA analysis would also result in a federal action that would not cause as much harm
to threatened species and the Willamette River because, as required by NEPA, harm identified
through the NEPA process would have to be mitigated.
Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.
Executed this 19th day of October, 2020 in Portland, Oregon.




                                                  Juniper Simonis
                                                  Willamette Riverkeeper Member



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